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                               MASSACHUSETTS DEPARTMENT
                                                 of 2     OF REVENUE
                                LITIGATION BUREAU - BANKRUPTCY UNIT
                                      100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
                                    Mailing Address: P. O. BOX 9564, BOSTON, MA 02114
                                           Phone: (617) 626-3875 Fax: (617) 626-3796

MARK E. NUNNELLY                                                                                             Date 4/16/2015
    COMMISSIONER                                                                                          Chapter 13
        Yvonne V. Skapars                                                                                 Docket # 15-11221 WCH
                                                                                                             SSN:        -5580
        122 Oakmont Road                                                                                       FID:
        Yarmouth Port, MA 02675

                          NOTICE BY COMMISSIONER OF MASSACHUSETTS DEPARTMENT
                            OF REVENUE OF UNFILED PREPETITION TAX RETURNS AND
                                          REQUEST FOR THE SAME
     PLEASE BE ADVISED that the records of the Massachusetts Department of Revenue (“MDOR”) indicate that you have not filed certain tax
returns that you appear to be required to file. The accompanying schedule lists what these presently appear to be. MDOR hereby demands that you file
all Massachusetts tax returns that you have been required to file but have not filed, including those listed on the schedule.
   PLEASE TAKE NOTE that Section 1308(a) of the Bankruptcy Code requires that no later than the day before the first scheduled meeting of
creditors in your Chapter 13 case you must have filed with the appropriate taxing authorities all returns that were required to be filed for all taxable
periods ending during the four (4) year period ending on the filing of your petition. While under appropriate circumstances the trustee or the court can
extend that deadline, the failure(s) to file any of those returns before the required or extended deadline are grounds under Section 1307(e) of the
Bankruptcy Code for dismissal or the conversion to Chapter 7 of your case. Under applicable law, the burden is upon you to demonstrate that you were
not legally required to file a return for each tax period, if that is your position. However, if the return is one required by Section 1308(a) and the
original or extended deadline has passed without filing the return(s), even if the dispute is not resolved by then, then your case can still be dismissed or
converted to Chapter 7 if the court finds that you do not meet your burden.
   PLEASE ALSO BE ADVISED THAT unless we receive a tax return for each tax period of each tax type as set forth in the schedule within thirty (30)
days of this notice (whether the return is a required one under Section 1308(a) or not), then in accordance with G.L. c. 62C, § 28, MDOR may determine
the tax due according to our best information and belief (Any such assessment(s) would be in addition to any exercise or pursuit of such other rights and
remedies.
   If you have an attorney representing you in this case, you may wish to consult your attorney on these issues. If there are any further questions, your
attorney or you may contact the Massachusetts Department of Revenue Bankruptcy Unit at 617 626-3875 or confer with the MDOR representative at
your Section 341 meeting of creditors should one be in attendance.
                                 TAX TYPE                                                    PERIODS ENDING
0103 - Personal Use     0143 - Room Occupancy                         0173 - Public Utility                              A - Annual          H-Husband
0112 - Gasoline         0161 - Room Local                             0179 - Fiduciary                                   D - Depository      W-Wife
0113 - Special Fuel     0163 - Boat/RV                                0182 - MA IFTA / 0183 -OTHRIFTA                    M - Monthly         J-Joint
0114 - Motor Carrier    0166 - Withholding                            0209 - Cig/Ind                                     Q - Quarterly
0137 - Sales Use        0167- Corporate Domestic (Mass.)              0210 - Satellite Service
0138 - Meals            0168 - Corporate Foreign (outside Mass.)      0218 - Cig/Tob
0139 - Sales/M.V.                                                     0258 - Meals Tax Local Option
0140 - Income
                                   0140                                                           12/31/2011
                                   0140                                                           12/31/2012
                                    0140                                                            12/31/2013
                                    0140                                                            12/31/2014
  PLEASE TAKE FURTHER NOTICE that Mark E. Nunnelly,, as he is Commissioner of Revenue for the Commonwealth of
  Massachusetts, by and through his undersigned agent, hereby makes demand upon the Debtor to file forthwith the
  above-identified tax returns.
                                                                      MARK E. NUNNELLY, COMMISSIONER
                                                                      MASSACHUSETTS DEPARTMENT OF REVENUE

                                                                      By his duly authorized agent,

                                                                      /s/Isabel Mack
                                                                      Massachusetts Department of Revenue
                                                                      Bankruptcy Unit, P.O. Box 9564
                                                                      Boston, MA 02114
                                                                      Tel (617) 626-3875
CC: Peter M Daigle
Carolyn Bankowski, Esq.
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 MARK E. NUNNELLY
  COMMISSIONER




                               CERTIFICATE OF SERVICE

      I, Isabel Mack, hereby certify that I have caused the attached Commissioner of the Massachusetts

 Department of Revenue's of Unfiled Prepetition Tax Returns and Request For The Same Pursuant To 11

 U.S.C. Section 1308, to be served by first class mail, postage prepaid, upon parties or persons appearing on

 the accompanying SERVICE LIST attached hereto who were not listed as being served electronically upon:




                                         Peter M. Daigle
                                         1550 Falmouth Road, Suite 10
                                         Centerville, MA 02632




                                         Chapter 13 Trustee
                                         P.O. Box 8250
                                         Boston, MA 02114-2114




                                             /s/Isabel Mack

                                    Massachusetts Department of Revenue
